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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,
                                           Case No. 22 CR 323-2
       v.                                  Hon. Gabriel A. Fuentes
                                           Magistrate Judge
RAHEIM HAMILTON


ORDER PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 5(f)

      Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the court,

with both the prosecutor and defense counsel present, confirms the government’s

obligation to disclose favorable evidence to the accused under Brady v. Maryland, 373

U.S. 83 (1963), and its progeny, and orders it to do so. Favorable evidence under

Brady need have only some weight and includes both exculpatory and impeaching

evidence. Failure to produce such evidence in a timely manner may result in

sanctions, including, but not limited to, adverse jury instructions, dismissal of

charges, and contempt proceedings.



                                       ENTER:



                                       GABRIEL A. FUENTES
                                       United States Magistrate Judge

DATE: January 19, 2023
